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U.S. District Court for the Northern District Of |llinois
Attorney Appearance Fom1

 

Case Title: Adam Romanowicz V- Vi"age Case Number: 1:18-cv-2766
Green Management Company, L

An appearance is hereby filed by the undersigned as attorney for:
Vi||age Green Management Company, LLC

Attorney name (type or print): Bryan P. Sugar
Firm: Lewis Brisbois Bisgaard & Smith LLP

Street addr€SSf 550 West Adams Street1 Suite 300
City/State/Zip: Chicago, ||linois 60661

Bar |D Number: 6276016 Telephone Number: 3124633473

(See item 3 in instructions)

Emai| Address: Bryan.Sugar@lewisbrisbois.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you acting as lead counsel in this case? \/ Yes No
Are you acting as local counsel in this case? Yes l/ No
Are you a member of the court`s trial bar'? Yes ./ No
|f this case reaches trial, will you act as the trial attorney? Yes ./ No
|f this is a criminal case, check your status. Retained Counsel

 

 

 

 

Appointed Counsel
|f appointed counse|, are you

 

 

Federal Defender
CJA Panel Attomey

 

 

 

 

 

 

|n order to appear before this Court an attorney must either be a member in good standing of this Court‘s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.‘|4.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on |V|ay 8, 2018

Attorney signature: S/ BW@“ P- SUQH\'

 

(Use electronic signature if the appearance form is filed electronical|y.)

Revised 81' 1 )'201 5

